UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

    In re:
                                                                         Case No.: 20-10322
    The Diocese of Buffalo, N.Y.,
                                                                         Chapter 11

                                                   Debtor,


             CERTIFICATE OF NO OBJECTION WITH RESPECT TO THE
            MONTHLY FEE STATEMENT OF THE TUCKER GROUP, LLC
              FOR COMPENSATION FOR SERVICES RENDERED AND
        REIMBURSEMENT OF EXPENSES AS COMMUNICATIONS CONSULTANT
              TO THE DIOCESE OF BUFFALO, N.Y. FOR THE PERIOD
                    MARCH 1, 2021 THROUGH MARCH 31, 2021

             Pursuant to this Court’s Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Professionals and Members of Official Committees [Docket No.

362] (the “Interim Compensation Order”)1, the undersigned hereby certifies that on April 9, 2021,

The Tucker Group, LLC (“Tucker”) filed its Monthly Fee Statement of The Tucker Group, LLC

for Compensation for Services Rendered and Reimbursement of Expenses as Communications

Consultant to The Diocese of Buffalo, N.Y. for the Period March 1, 2021 through March 31, 2021

[Docket No. 990] (the “Monthly Fee Statement”) and no objections to the Monthly Fee Statement

have been filed.

             Accordingly, pursuant to the Interim Compensation Order, The Diocese of Buffalo, N.Y.

is authorized to pay on an interim basis eighty percent (80%) of Tucker’s fees and one hundred

percent (100%) of Tucker’s expenses, as reflected in the Monthly Fee Statement.




1
 Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Interim Compensation
Order.



12440231.1 4/26/2021
     Case 1-20-10322-CLB, Doc 1020, Filed 04/26/21, Entered 04/26/21 11:42:32,
                      Description: Main Document , Page 1 of 2
Dated: April 26, 2021                       THE TUCKER GROUP, LLC



                                      By:          /s/ Gregory Tucker
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12440231.1 4/26/2021
   Case 1-20-10322-CLB, Doc 1020, Filed 04/26/21, Entered 04/26/21 11:42:32,
                    Description: Main Document , Page 2 of 2
